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                              Exhibit 8
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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Gorospe, James Kevin                                           March 19, 2008
                                 Sacramento, CA

                                                                                Page 1
                   UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF MASSACHUSETTS

    ------------------------------X

    IN RE:   PHARMACEUTICAL        ) MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     ) CIVIL ACTION:

    PRICE LITIGATION               ) 01-CV-12257-PBS

    ------------------------------X

    THIS DOCUMENT RELATES TO:      ) Judge Patti B. Saris

    U.S. ex rel. Ven-A-Care of     )

    the Florida Keys, Inc. v.      ) Magistrate Judge

    Abbott Laboratories, Inc.,     ) Marianne B. Bowler

    et al.                         )

    Case No. 06-CV-11337-PBS       )

    ------------------------------X

                               --oOo--

                     WEDNESDAY, MARCH 19, 2008

                               --oOo--

                     VIDEOTAPED DEPOSITION OF

                        JAMES KEVIN GOROSPE

    Reported By:   JOANIE MURAKAMI, CSR No. 5199

                   Registered Merit Reporter

                   Certified Realtime Reporter




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                             Sacramento, CA

                                                                           Page 357
  1
      BY MR. GOBENA:
  2
               Q.     But it was a comprehensive study,
  3
      nonetheless, of ingredient costs and dispensing
  4
      fees being paid by Medi-Cal in or around the time
  5
      of the report; isn't that correct?
  6
               A.     That's correct.
  7
               Q.     And it's true, Dr. Gorospe, isn't it,
  8
      that the legislature did not -- the legislature
  9
      reacted to this report by trying to get -- to
10
      make the ingredient cost reimbursements more
11
      accurate and the dispensing fee payments or
12
      reimbursements more accurate; isn't that true?
13
                      MR. COLE:       Object to the form.
14
                      THE WITNESS:         That's true.
15
      BY MR. GOBENA:
16
               Q.     Was it ever, based on your knowledge,
17
      was it ever Medi-Cal's policy to overpay for drug
18
      ingredient costs?
19
               A.     No.
20
               Q.     Now, you mentioned -- hold on a second.
21
                      And was it ever, to your knowledge --
22
      again, was it ever Medi-Cal's policy to knowingly

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                                                                           Page 358
  1
      or intentionally overpay providers for drug
  2
      purchases in order to subsidize what were
  3
      perceived to be inadequate dispensing fees?
  4
                      MR. COLE:       Object to the form.
  5
                      THE WITNESS:         Not to my knowledge.
  6
      BY MR. GOBENA:
  7
               Q.     Now, we discussed how the concepts of
  8
      direct price and AWP were potential benchmarks
  9
      that are used by Medi-Cal when it was determining
10
      the proper reimbursement for drugs to a provider.
11
                      What was -- why don't you explain to us
12
      -- actually, strike that.
13
                      Why don't you walk us through how a
14
      pharmacy presents a claim to Medi-Cal and how
15
      that claim gets paid.
16
               A.     A pharmacy enters specific claim
17
      information into their practice management
18
      systems.        That information consists of what's
19
      known as header information, which is beneficiary
20
      related information, the beneficiary ID number,
21
      their name, birth date, things like that.
22
                      Other parts of the claim then are the

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